






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-07-223 CR


____________________



ANGELI CAROL PHELPS, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 97650






     MEMORANDUM OPINION


	Angeli Carol Phelps was convicted and sentenced on an indictment for possession of
a controlled substance.  Phelps filed a notice of appeal on May 1, 2007.  The trial court
entered a certification of the defendant's right to appeal in which the court certified that this
is a plea-bargain case and the defendant has no right of appeal.  See Tex. R. App. P.
25.2(a)(2).  The trial court's certification has been provided to the Court of Appeals by the
district clerk.

	On May 4, 2007, we notified the parties that the appeal would be dismissed unless an
amended certification was filed within thirty days of the date of the notice and made a part
of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been supplemented
with an amended certification.

	Because a certification that shows the defendant has the right of appeal has not been
made part of the record, the appeal must be dismissed.  See Tex. R. App. P. 25.2(d). 
Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.	

								                                                        

									HOLLIS HORTON

										Justice

	

Opinion Delivered June 20, 2007                                   

Do Not Publish

Before Gaultney, Kreger, and Horton, JJ.


